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                Case 2:21-mj-00400-SCD Filed 05/18/21 Page 5 of 20 Document 1
                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT

      I, Kathrine Karlsen, being first duly sworn, hereby depose and state as

follows:

                   INTRODUCTION AND AGENT BACKGROUND

      1.       I make this affidavit in support of an application for a search warrant

under Federal Rule of Criminal Procedure 41 to authorize law enforcement to

employ an electronic investigative technique, which is described in Attachment B,

to determine the location of the cellular device assigned with Vehicle Identification

Number (VIN) 1C4SDJH98MC643044 (“the SUBJECT ACCOUNT”), which is

described in Attachment A.

      2.       I am a Special Agent with the Federal Bureau of Investigation (FBI)

and have been since May of 2019.ௗ I have been assigned to the Milwaukee Area Safe

Street Task Force since October of 2019.ௗ Prior to being employed as a Special Agent

with the FBI, I was employed as a Staff Operations Specialist for the FBI for

approximately nine years.ௗ I am an investigator or law enforcement officer of the

United States within the meaning of 18 U.S.C. Section 2510(7), in that I am

empowered by the law to conduct investigations of and to make arrests for federal

felony arrests.

      3.       As a Special Agent, I have participated in the investigation of

narcotics-related offenses, resulting in the seizure of illegal drugs, weapons, United

States currency, and other evidence of criminal activity. As a narcotics investigator,

I have interviewed many individuals involved in drug trafficking and have obtained




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information from them regarding acquisition, sale, importation, manufacture, and

distribution of controlled substances. Through my training and experience, I am

familiar with the actions, habits, traits, methods, and terminology used by the

narcotics traffickers and abusers of controlled substances. I have participated in all

aspects of drug investigations, including physical surveillance, execution of search

warrants, undercover operations, court-ordered wiretaps, analysis of phone and

financial records, and the arrests of numerous drug traffickers. I have also been the

affiant of search warrants. Additionally, I have spoken with other experienced

narcotics investigators on numerous occasions concerning the method and practices

of drug traffickers and money launderers. Through these investigations, my

training and experience, and conversations with other law enforcement personnel, I

have become familiar with the methods used by drug traffickers to manufacture,

smuggle, safeguard, and distribute narcotics, and to collect and launder trafficking-

derived proceeds. I am further aware of the methods employed by major narcotics

organizations to thwart any investigation of their illegal activities.

      4.     In addition to my experience in the investigation of individuals

involved in federal criminal offenses, I also have knowledge and experience in the

apprehension and prosecution of individuals involved in federal criminal offenses. I

am familiar with and have experience in the use of cellular devices used to commit

those offenses as well as the available technology that can be used by law

enforcement to assist in identifying the users of cellular devices and their locations.



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      5.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

      6.     One purpose of applying for this warrant is to determine with precision

the SUBJECT ACCOUNT’s location. However, there is reason to believe the

SUBJECT ACCOUNT is currently located somewhere within this district because

the SUBJECT ACCOUNT’s owner and/or operator is known to spend most of his

time in this district and the vehicle to which the SUBJECT ACCOUNT

accompanies, is registered to a Milwaukee, Wisconsin address, and was seen at

least one times in this district since March 31, 2021. Pursuant to Rule 41(b)(2), law

enforcement may locate the SUBJECT ACCOUNT outside the district provided the

device is within the district when the warrant is issued.

      7.     Based on the facts set forth in this affidavit, there is probable cause to

believe that Shaft A. DARBY (DARBY) (DOB: xx/xx/1991) has violated 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(C), and 860(a) (possession with intent to distribute more than

five grams of a controlled substance within 1000 feet of a public school); 18 U.S.C.

§§ 924(c) & 2(a) (possession of a firearm in furtherance of a drug trafficking crime);

and 18 U.S.C. §§ 922(g)(1) & 924(a)(2) (possession of a firearm by a felon). DARBY

was charged with these crimes on March 2, 2021, and he is the subject of an arrest

warrant issued on March 3, 2021. There is also reason to believe that DARBY is

aware of these charges and is actively avoiding law enforcement apprehension.

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There is also probable cause to believe that the SUBJECT ACCOUNT’s location will

assist law enforcement in arresting DARBY,, who is a “person to be arrested” within

the meaning of Federal Rule of Criminal Procedure 41(c)(4).

      8.     Because collecting the information authorized by this warrant may fall

within the statutory definitions of a “pen register” or a “trap and trace device,” see

18 U.S.C. § 3127(3) & (4), this warrant is designed to comply with the Pen Register

Statute as well as Rule 41. See 18 U.S.C. §§ 3121-3127. This warrant therefore

includes all the information required to be included in a pen register order. See 18

U.S.C. § 3123(b)(1).

                                     PROBABLE CAUSE

      9.     On or about March 2, 2021, DARBY was charged by Indictment with

possession with intent to distribute more than five grams of a controlled substance

within 1000 feet of a public school, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(C), and 860(a); possession of a firearm in furtherance of a drug trafficking

crime, in violation of 18 U.S.C. §§ 924(c) & 2(a); and possession of a firearm by a

felon, in violation of 18 U.S.C. §§ 922(g)(1) & 924(a)(2). The Indictment is currently

sealed. See United States v. Shaft A. Darby and Marquan L. Clemmer, 21-CR-48.

                                  Criminal Offense Details

      10.    On October 12, 2020, at approximately 2:15 p.m., law enforcement

officers were conducting surveillance at Al’s Wheels and Deals, a business located at

4270 N. 76th Street in Milwaukee, Wisconsin. Law enforcement was acting in an

undercover capacity and operating in an undercover government vehicle.

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      11.     At approximately 2:42 p.m., law enforcement observed a gray in color

2014 Jeep Grand Cherokee SUV bearing Wisconsin registration plate of 470-ZEC

(VIN# 1C4RJFDJ9EC395246), hereinafter referred to as the “gray Jeep,” enter the

parking lot of Al’s Wheels and Deals. Law enforcement then observed the gray Jeep

parked next to a black in color 2018 Jeep Grand Cherokee SUV bearing Wisconsin

registration plate of ABE-3330 (VIN# 1C4SDJH98MC643044), hereinafter referred

to as the “black Jeep.”

      12.    On October 12, 2020, at approximately 3:54 p.m., law enforcement

observed DARBY, wearing a tan Burberry hat, black hooded sweatshirt and black

jeans, exit the gray Jeep. Law enforcement then observed DARBY enter the black

Jeep. DARBY was then observed reversing the black Jeep towards the overhead

door to the building of 4270 N. 76th Street. Law enforcement then observed DARBY

exit the driver door and open the tailgate of the black Jeep. At this time, law

enforcement was not able to observe DARBY’s actions due to the position of other

vehicles obstructing their view. Law enforcement conducting surveillance advised

other officers regarding the above-described observations.

      13.    DARBY was then observed getting back into the driver seat of the

black Jeep and parking the vehicle next to the gray Jeep. Affiant then observed a

subject, later identified as Marquan L. CLEMMER (DOB: xx/xx/1995), retrieve a

purple “Bape” hooded sweatshirt from the rear passenger compartment of the gray

Jeep. Affiant then observed CLEMMER open the rear left passenger door of the



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black Jeep. During this time affiant was not able to observe CLEMMER’s actions

while he was near the rear passenger door of the black Jeep.

      14.    Additional law enforcement officers then entered into the parking lot of

Al’s Wheels and Deals. At this time, the driver door of the gray Jeep was open. As

law enforcement exited the squad car and began walking towards the Jeep,

CLEMMER exited the front passenger door of the gray Jeep and began running

westbound towards N. 76th Street. DARBY exited the driver seat of the gray Jeep

and fled westbound around the rear of the gray Jeep and then back northbound

near the front entrance from where the officers entered.

      15.    During flight, CLEMMER ran up onto a vehicle and jumped off the

vehicle over a chain link fence surrounding the parking lot of Al’s Wheels and Deals.

Law enforcement followed CLEMMER and apprehended him on the median across

the street of N. 76th Street. Upon CLEMMER’s arrest, law enforcement located in

his front right pants pocket four cell phones. Law enforcement also located a loaded

black Glock 48 9 mm semi-automatic handgun from the bottom of CLEMMER’s left

side pants leg. CLEMMER also had a Jeep key fob around his neck and was also in

possession of $80.00 in U.S. currency.

      16.    During flight, law enforcement gave DARBY multiple verbal

commands to “stop.” DARBY disregarded the verbal commands and continued to

flee on foot. Law enforcement followed DARBY and observed DARBY throw a pill

bottle on the roof of 4302 N. 76th Street. Law enforcement then apprehended

DARBY.

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      17.     While standing in the parking lot of Al’s Wheels and Deals, law

enforcement observed the pill bottle that DARBY threw on the top of the roof of

4302 N. 76th Street. Due to strong winds, the pill bottle blew off of the roof, and law

enforcement located and secured the pill bottle, which was revealed to contain

approximately 57 Oxycodone Hydrochloride 30 mg pills, a Schedule II controlled

substance. The pill bottle did not contain a prescription label. Upon arrest, DARBY

was found to be in possession of four cell phones, $2,920.10 in U.S. currency, and

approximately 2 grams of marijuana.

      18.     A search of both Jeeps was thereafter conducted. A search of the gray

Jeep revealed the following, which list is non-exhaustive:

                 a. Open box 150 count sandwich bags in center console;

                 b. A large dry freezer bag containing clear plastic bags that
                    contained approximately 497.51 grams of marijuana on the front
                    passenger floorboard;

                 c. Drum magazine for firearm under front passenger seat;

                 d. Tan FN BG 9mm semi-automatic (Serial # CSU0057167)
                    handgun on the rear passenger floorboard in the middle of the
                    compartment;

                 e. WI auto plates, ABR5696, AAF4004, and AHT2100, in the
                    trunk; and

                 f. $120.00 in U.S. currency in the passenger door handle.

      19.     A search of the black Jeep revealed the following, which list is non-

exhaustive:

                 a. Bottle of suspected promethazine with no label, weighing 70.91
                    grams with the bottle, in driver door map pocket;

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                b. A cellular phone in glove box;

                c. Large clear plastic “pound bag” containing marijuana residue on
                   passenger rear floorboard;

                d. Black backpack on passenger side rear seat containing a total of
                   $67,410.00 in U.S. currency, clear plastic bags that contained
                   approximately 134.92 grams of marijuana, a digital scale, and
                   identifiers of “Terrance M. CLEMMER”;

                e. Gray duffle bag containing a large clear plastic dry freezer bag
                   containing approximately 449.33 grams of marijuana; and

                f. WI registration plate AJT-1610 in trunk.

      20.    Video surveillance of Al’s Wheels and Deals captured DARBY and

CLEMMER on the day of their arrest. Surveillance depicts DARBY exiting the gray

Jeep, operating the black Jeep, and meeting with another individual, who switches

out the license plates of the black Jeep. DARBY is then observed driving the black

Jeep to a location near the gray Jeep, which he then enters. DARBY and

CLEMMER are both observed exiting the gray Jeep. Eventually, CLEMMER is

depicted retrieving a black backpack from the gray Jeep and placing it in the rear

compartment of the black Jeep. This black backpack matches the description of the

black backpack that contained a large sum of U.S. currency and marijuana located

in the black Jeep.

      21.    On November 5, 2020, at approximately 12:30 p.m., DARBY and

Terrya Bolden, the mother to DARBY’s children, paid $550.00 to have the black

Jeep released to them from the City of Milwaukee Tow Lot, located at 3811 W.

Lincoln Avenue, Milwaukee, Wisconsin.

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      The matte-gray Dodge Durango Hellcat and the SUBJECT ACCOUNT

      22.    On April 28, 2021, United States Magistrate Judge William E. Duffin

authorized a pen register/trap and trace and cell site/ping warrant for the cellular

device associated with VIN 1C4RJFN97JC310127, the black Jeep.

      23.    On April 30, 2021, case agents received historical location data for the

black Jeep. The data showed that the Jeep was in the area of 45th Street and US-41

in Highland, Indiana, from April 5, 2021, to April 28, 2021. Case agents researched

the area and found several car dealerships in the proximity of the historical location

data. Additionally, case agents found the black Jeep to be listed for sale out of

Highland, Indiana, at truecar.com. The advertisement listed the black Jeep to be

sold from Thomas Dodge Chrysler Jeep Ram of Highland, Indiana, a car dealership

within close proximity of the location data of the black Jeep.

      24.    On May 4, 2021, case agents spoke to the business manager at Thomas

Dodge Chrysler Jeep of Highland Inc. located at 9604 Indianapolis Boulevard,

Highland, Indiana, who informed case agents that DARBY and Terrya Bolden

traded in the 2018 Jeep Grand Cherokee Trackhawk for a matte-gray 2021 Dodge

Durango Hellcat with VIN 1C4SDJH98MC643044 on March 30, 2021.

      25.    On March 31, 2021, at approximately 10:34 a.m., case agents observed

DARBY exit the rear of the residence located at 8324 W. Center Street, Milwaukee.

DARBY used the keypad to open one of the two garage doors behind the target

residence. Case agents observed DARBY drive a matte-gray Dodge Durango Hellcat

from the garage, out the alley and turn north on 84th Street.

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      26.     The Dodge Durango Hellcat is currently registered to DARBY and

Terrya L. BOLDEN at address 8324 W. Center Street in Milwaukee, Wisconsin.

      27.     Based upon information regarding DARBY’s vehicle trade-in, the

registration information for the Dodge Durango Hellcat, and case agents’

observations of DARBY operating the Dodge Durango Hellcat, case agents believe

DARBY is currently operating the gray Dodge Durango Hellcat.

      28.     Furthermore, DARBY has been traffic stopped and has fled from law

enforcement in various instances in 2019 and 2020. Specifically, DARBY fled from

law enforcement on or about April 23, 2019, in the area of 6800 W. Hampton

Avenue, and on or about March 18, 2020, in the area of 8400 W. Hampton Avenue.

Additionally, DARBY was traffic stopped on or about August 15, 2019, in the area of

N. 72nd Street and W. Ruby Avenue, and on or about October 3, 2019, in the area of

N. 75th Street and W. Courtland Avenue. 1

      29.     Case agents also believe that DARBY knows and/or believes that law

enforcement is searching for him because of his criminal activities.

      30.     Based upon DARBY’s pattern of fleeing from law enforcement,

including on the day of his arrest in October 2020, case agents believe that it is

likely for DARBY to act in accordance when he encounters law enforcement.

Therefore, agents believe that the requested warrant will allow them to not only



      1  DARBY has an active Felony Milwaukee Police Department suspect alert for
fleeing/Eluding (Citation # BF906634-1).


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determine DARBY’s location to arrest him, but to also reduce the risk of danger

posed to the apprehending officers.

      31.    Furthermore, your affiant knows through communications with other

law enforcement members that newer vehicles, such as a 2021 Dodge Durango, are

frequently equipped with cellular modems inside their vehicles. These cellular

modems are assigned a unique cellular identifier and generate historical and

prospective records similar to a traditional cellular phone. The unique cellular

identifier is associated with a specific VIN. These records can assist law

enforcement in identifying the location of the vehicle including patterns of travel

and areas where the subject may reside or frequent.

      32.    Most Original Equipment Manufacturers (OEMs) have partnered with

AT&T or Verizon to provide cellular connectivity within their vehicles.

      33.    A check of open source information from AT&T identifies the 2021

Dodge Durango Hellcat as a vehicle that has a built in WiFi hotspot that is serviced

by AT&T, identified as the SUBJECT ACCOUNT.

                             MANNER OF EXECUTION

      34.    In my training and experience, I have learned that cellular phones and

other cellular devices communicate wirelessly across a network of cellular

infrastructure, including towers that route and connect individual communications.

When sending or receiving a communication, a cellular device broadcasts certain

signals to the cellular tower that is routing its communication. These signals

include a cellular device’s unique identifiers.

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      35.    To facilitate execution of this warrant, law enforcement may use an

investigative device or devices capable of broadcasting signals that will be received

by the SUBJECT ACCOUNT or receiving signals from nearby cellular devices,

including the SUBJECT ACCOUNT. Such a device may function in some respects

like a cellular tower, except that it will not be connected to the cellular network and

cannot be used by a cell phone to communicate with others. The device may send a

signal to the SUBJECT ACCOUNT and thereby prompt it to send signals that

include the unique identifier of the device. Law enforcement may monitor the

signals broadcast by the SUBJECT ACCOUNT and use that information to

determine the SUBJECT ACCOUNT’s location, even if it is located inside a house,

apartment, or other building.

      36.    The investigative device may interrupt cellular service of phones or

other cellular devices within its immediate vicinity. Any service disruption to non-

target devices will be brief and temporary, and all operations will attempt to limit

the interference with such devices. In order to connect with the SUBJECT

ACCOUNT, the device may briefly exchange signals with all phones or other

cellular devices in its vicinity. These signals may include cell phone identifiers.

The device will not complete a connection with cellular devices determined not to be

the SUBJECT ACCOUNT, and law enforcement will limit collection of information

from devices other than the SUBJECT ACCOUNT. To the extent that any

information from a cellular device other than the SUBJECT ACCOUNT is collected

by the law enforcement device, law enforcement will delete that information, and

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law enforcement will make no investigative use of it absent further order of the

court, other than distinguishing the SUBJECT ACCOUNT from all other cellular

devices.

                           AUTHORIZATION REQUEST

      37.    Based on the foregoing, I request that the Court issue the proposed

search warrant, pursuant to Federal Rule of Criminal Procedure 41.

      38.    I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 41(f)(3), that the Court authorize the officer executing the

warrant to delay notice until 30 days from the end of the period of authorized

surveillance. This delay is justified because there is reasonable cause to believe

that providing immediate notification of the warrant may have an adverse result, as

defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of

the SUBJECT ACCOUNT would give that person an opportunity to destroy

evidence, change patterns of behavior, and flee from prosecution. See 18 U.S.C.

§ 3103a(b)(1). There is reasonable necessity for the use of the technique described

above, for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

      39.    I further request that the Court authorize execution of the warrant at

any time of day or night, owing to the potential need to locate the SUBJECT

ACCOUNT outside of daytime hours.

      40.    A search warrant may not be legally necessary to compel the

investigative technique described herein. Nevertheless, I hereby submit this

warrant application out of an abundance of caution.

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                                 ATTACHMENT A

      This warrant authorizes the use of the electronic investigative technique

described in Attachment B to identify the location of the cellular device assigned

with Vehicle Identification Number (VIN) 1C4SDJH98MC643044 (“the SUBJECT

ACCOUNT”), whose wireless provider is AT&T Corporation, and whose listed

subscriber is unknown.




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                                  ATTACHMENT B

      Pursuant to an investigation of Shaft A. DARBY for violations of 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(C), and 860(a); 18 U.S.C. §§ 924(c) & 2(a); and 18 U.S.C.

§§ 922(g)(1) & 924(a)(2), this Warrant authorizes the officers to whom it is directed

to determine the location of the SUBJECT ACCOUNT identified in Attachment A

by collecting and examining:

   1. radio signals emitted by the SUBJECT ACCOUNT for the purpose of

      communicating with cellular infrastructure, including towers that route and

      connect individual communications; and

   2. radio signals emitted by the target cellular device in response to radio signals

      sent to the cellular device by the officers;

for a period of thirty days, during all times of day and night. This warrant does not

authorize the interception of any telephone calls, text messages, other electronic

communications, and this warrant prohibits the seizure of any tangible property.

The Court finds reasonable necessity for the use of the technique authorized above.

See 18 U.S.C. § 3103a(b)(2).




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